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AO 245D (CASD Rev. 1/19) Judgment in a Criminal Case for Revocations

 

 

 

UNITED STATES DISTRICT COURT OCT 09 2020
SOUTHERN DISTRICT OF CALIFORNIA
CLERK US DISTRICT COURT

UNITED STATES OF AMERICA JUDGMENT IN A CRI EAE EEQASETRICT OF CALIFORN
(For Revocation of Probation o u

Vv (For Offenses Committed On or After November 1, 1987)

 

 

 

 

 

CESAR ANTONIO ESQUER (2) Case Number: 19CR4400-CAB

LAUREN CLARK, FEDERAL DEFENDERS, INC.
Defendant’s Attorney

 

REGISTRATION NO. - 89673298

CT] -

THE DEFENDANT:

XX]. admitted guilt to violation of allegation(s) No. 1

[-] was found guilty in violation of allegation(s) No. after denial of guilty.

 

Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number Nature of Violation
1 nv3, Unlawful use of a controfled substance or Failure to Test; VCCA - (Violent Crime Control

Act)

Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 4 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant’s economic circumstances.

   

 

ositign of Sentence

 

HON. Cathy Ann Bencivengo
-UNITED STATES DISTRICT JUDGE

 
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SUPERVISED RELEASE
Upon release from imprisonment, the defendant will be on supervised release for a term of:
18 MONTHS.
MANDATORY CONDITIONS

1. The defendant must not commit another federal, state or local crime.
. The defendant must not unlawfully possess a controlled substance.

3. . The defendant must not illegally possess a controlled substance. The defendant must refrain from any unlawful use of a
controlled substance. The defendant must submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter as determined by the court. Testing requirements will not exceed submission of more

_ than 4 drug tests per month during the term of supervision, unless otherwise ordered by the court.
CThe above drug testing condition is suspended, based on the court's determination that the defendant poses.a low
risk of future substance abuse. (check if applicable)

4. [JThe defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
a sentence of restitution. (check if applicable)

5. The defendant must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
U1 The defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or.any state sex offender registration agency in
the location where the defendant resides, works, is a student, or was convicted of a qualifying offense. (check if
applicable)

7, UThe defendant must participate in an approved program for domestic violence. (check if applicable)

The defendant must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.

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STANDARD CONDITIONS OF SUPERVISION

As part of the defendant’s supervised release, the defendant must comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for the defendant’s behavior
while on supervision and identify the minimum tools needed by probation officers to keep informed, report to the
court about, and bring about improvements in the defendant’s conduct and condition.

1. The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72
hours of their release from imprisonment, unless the probation officer instructs the defendant to report to a different probation
office or within a different time frame.

2. After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer
as instructed.

3. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
getting permission from the court or the probation officer.

_ 4, The defendant must answer truthfully the questions asked by their probation officer.

5. The defendant must live at a place approved by the probation officer. If the defendant plans to change where they live or
anything about their living arrangements (such as the people living with the defendant), the defendant must notify the
probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a change or
expected change.

6. The defendant must allow the probation officer to visit them at any time at their home or elsewhere, and the defendant must
permit the probation officer to take any items prohibited by the conditions of their supervision that he or she observes in plain
view.

7. Fhe defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
excuses the defendant from doing so. If the defendant does not have full-time employment the defendant must try to find full-
time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
defendant works or anything about their work (such as their position or their job responsibilities), the defendant must notify the
probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
due to unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a
change or expected change.

8. The defendant must not communicate or interact with someone they know is engaged in criminal activity. Ifthe defendant -
knows someone has been convicted of a felony, they must not knowingly communicate or interact with that person without —
first getting the permission of the probation officer.
9. Ifthe defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72 hours.
10. The defendant must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (ie.,
anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such

as nunchakus or tasers).

11. The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court.

12. If the probation officer determines the defendant poses arisk to another person (including an organization), the probation
officer may require the defendant to notify the person about the risk and the defendant must comply with that instruction.
The probation officer may contact the person and confirm that the defendant notified the person about the risk.

13, The defendant must follow the instructions of the probation officer related to the conditions of supervision,

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SPECIAL CONDITIONS OF SUPERVISION

1. Not enter or reside in the Republic of Mexico without permission of the court or probation officer and
comply with both United States and Mexican immigration laws.

2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

3. Submit your person, property, house, residence, vehicle, papers, [computers (as defined in 18 U.S.C. Sec.
1030(e}(1)), other electronic communications or data storage devices or media,] or office, to a search
conducted by a United States Probation Officer. Failure to submit to a search may be grounds for
revocation of release. The officer must warn any other occupants that the premises may be subject to
searches pursuant to this condition. An officer may conduct a search pursuant to this condition only when
reasonable suspicion exists that the offender has violated a condition of his supervision and that the areas
to be searched contain evidence of this violation. Any search must be conducted at a reasonable time and
in a reasonable manner.

4, Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
and counseling, as directed by the probation officer. Allow for reciprocal release of information between
the probation officer and the treatment provider. May be required to contribute to the costs of services
rendered in an amount to be determined by the probation officer, based on ability to pay.

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